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 7
 8                                UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                    SAN FRANCISCO DIVISION
11   DISH NETWORK L.L.C.,                         Case No. 3:20-cv-01891-CRB
12                  Plaintiff,                    NOTICE OF MOTION AND MOTION
13          vs.                                   FOR JUDGMENT ON THE PLEADINGS
                                                  BY DEFENDANT SAJID SOHAIL;
14   JADOOTV, INC. and SAJID SOHAIL,              MEMORANDUM OF POINTS AND
                                                  AUTHORITIES IN SUPPORT THEREOF
15                  Defendants.
                                                  Proposed Order and Application for
16
                                                  Telephonic Appearance filed concurrently.
17
                                                  Judge: Hon. Charles R. Breyer
18                                                Date: Friday, September 4, 2020
                                                  Time: 10:00 am Pacific Time
19                                                Location: Telephonic appearance requested
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       MOTION FOR JUDGMENT ON THE PLEADINGS BY SAJID SOHAIL; MEMORANDUM IN SUPPORT
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         MOTION FOR JUDGMENT ON THE PLEADINGS BY SAJID SOHAIL; MEMORANDUM IN SUPPORT
                                    Case No. 3:20-cv-01891-CRB
 1                                         NOTICE OF MOTION
 2          PLEASE TAKE NOTICE that on Friday, September 4, 2020 at 10:00 Pacific Time before

 3   the Honorable Charles R. Breyer at the United States District Court for the Northern District of
 4   California, Courtroom 6, 17th Floor, San Francisco Courthouse, 450 Golden Gate Avenue, San
 5   Francisco, CA 94102, Defendant Sajid Sohail, through his counsel of record, will move the Court
 6   for judgment on the pleadings in his favor under Federal Rule 12(c). Mr. Sohail respectfully
 7   requests that the parties appear for the hearing by telephone and will file an Application and
 8   Proposed Order for a Telephonic Appearance concurrently with this Motion.
 9                       CONCISE STATEMENT OF THE RELIEF SOUGHT
10          Sajid Sohail respectfully requests that the Court again enter judgment on the pleadings in
11   his favor under Federal Rule 12(c). The Court has already done so once (Dkt. No. 192), and
12   DISH’s latest complaint fails to add any allegations sufficient to support a claim against
13   Mr. Sohail in his individual capacity. This motion is based on this notice and memorandum of
14   points and authorities, the pleadings and papers on file in this action, and such other oral argument
15   and evidence as may be presented at the hearing of this Motion.
16                                     SUMMARY OF ARGUMENT
17          DISH has alleged that Sajid Sohail, president of JadooTV, has infringed upon its
18   copyrights in his individual capacity in three ways: directly, contributorily, and vicariously.
19   DISH’s vague direct infringement theories are insufficient to impose personal liability on Mr.
20   Sohail under VHT, Inc. v. Zillow Group, Inc., 918 F.3d 723, 731 (9th Cir. 2019) and related cases.
21   The company’s contributory infringement theories also fail, as Mr. Sohail did not “(1) ha[ve]
22   knowledge of another’s infringement and (2) either (a) materially contribut[e] to or (b) induc[e]
23   that infringement.” Perfect 10, Inc. v. Visa Int’l Serv., Ass’n, 494 F.3d 788, 795 (9th Cir. 2007).
24   DISH has also not pled any facts sufficient to support a cause of action for vicarious infringement
25   against Mr. Sohail, as none of its allegations show that Mr. Sohail was “[1] profiting from direct
26   infringement while [2] declining to exercise a right to stop or limit it.” MGM Studios Inc. v.
27   Grokster, Ltd., 545 U.S. 913, 930 (2005). Judgment on the pleadings is appropriate here. DISH’s
28   complaint should be dismissed with prejudice, given its failure to add meaningful allegations.
                                                    1
       MOTION FOR JUDGMENT ON THE PLEADINGS BY SAJID SOHAIL; MEMORANDUM IN SUPPORT
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2   I. INTRODUCTION

 3          DISH Network’s original complaint failed to state a claim against JadooTV president Sajid
 4   Sohail, and this Court dismissed it. Dkt. No. 192. A month later, DISH is apparently still unwilling
 5   to back down: the company has now filed an amended complaint. Dkt. No. 194 (“Complaint”).
 6   But the sequel, as usual, is no better than the original. Recognizing that it still has no coherent
 7   legal theory of how Mr. Sohail committed any act of copyright infringement, DISH has grasped
 8   for every negative anecdote about Mr. Sohail it can find and recklessly tried to stuff those
 9   irrelevant “facts” into its existing causes of action. The result is nothing more than a bloated,
10   confused rehash of the allegations that this Court has already found insufficient.
11          DISH’s shockingly personal litigation crusade against Mr. Sohail needs to stop. The
12   company’s conduct in this litigation has already taken a tremendous toll on Mr. Sohail and his
13   family, and the Court need not allow DISH to continue to do so. Mr. Sohail respectfully requests
14   that the Court grant his motion again—this time with prejudice—and put an end to DISH’s
15   personal attacks once and for all.
16   II. STATEMENT OF ISSUES TO BE DECIDED
17          Whether DISH has stated a plausible claim that Mr. Sohail is personally liable for
18   copyright infringement.
19   III. STATEMENT OF FACTS
20          As it resolves a motion to dismiss or motion for judgment on the pleadings, this Court is
21   empowered to “augment the[] facts and inferences” from the plaintiff’s complaint “with data
22   points gleaned from documents incorporated by reference into the complaint, matters of public
23   record, and facts susceptible to judicial notice.” Haley v. City of Boston, 657 F.3d 39, 46 (2011).
24   Mr. Sohail submits this statement of facts with that broad discretionary power in mind. The “facts”
25   that DISH has chosen to allege about Mr. Sohail in its amended complaint are so extreme and
26   misleading that some additional context is appropriate at the outset here.
27          A. JadooTV’s platform provides access to content for thousands of immigrants.
28          JadooTV, Inc. (“JadooTV”) exists to serve the millions of Pakistani and Afghan expats in
                                                   2
       MOTION FOR JUDGMENT ON THE PLEADINGS BY SAJID SOHAIL; MEMORANDUM IN SUPPORT
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 1   the United States who want to watch familiar, culturally relevant content but have no
 2   economically feasible way to do so.1 Subscribing to DISH’s service, for instance, is generally cost

 3   prohibitive. It costs at least $59.99 per month just to purchase DISH’s required basic subscription
 4   (this is the company’s basic “America’s Top 120” plan), then another $34.99 for one of DISH’s
 5   additional “Urdu: Pak Mega” package of Pakistani programming, plus other miscellaneous fees.2
 6   The number of recent immigrants who can afford this type of substantial monthly expense is
 7   extremely limited. This is exactly the market opportunity that JadooTV recognized and addressed
 8   as it launched its new service.
 9            DISH Network L.L.C. (“DISH”), for its part, offers only a limited number of Pakistani
10   channels.3 The television situation for Afghan expats is even more extreme. Before JadooTV,
11   Afghan-Americans only had access to a small number of local channels via Galaxy 19, a satellite
12   that transmits a limited amount of free, unencrypted Afghan programming.4 Given the small
13   number of Afghan-Americans, no large company like DISH had the financial incentive to bundle
14   and distribute content that originally aired in Afghanistan. JadooTV’s model, though, was
15   perfectly suited to this community, and JadooTV brought channels from Afghanistan to the United
16   States. These types of savvy decisions made JadooTV an instant leader in certain niche
17   communities. Today, JadooTV offers over 100 Pakistani channels and over 40 Afghan channels.5
18   To date, DISH still does not have any Afghan programming.
19            B. DISH is a monopolist that uses lawsuits to shut down competitors like JadooTV.
20            DISH’s antiquated business model is to force international content providers into lopsided
21   exclusive agreements, then weaponize those agreements against any would-be competitors.6 This
22
     1. See JadooTV, Inc., About Us, https://jadootv.com/about-us/.
23   2. See Dish Network, Urdu TV Packages, https://www.dish.com/international-packages/urdu/.
24   3. Id.

25   4. E.g., FTList, All FTA Ku-band channels on Galaxy 19, https://www.ftalist.com/galaxy19.php.
     5. JadooTV, Afghan Content, https://jadootv.com/afghan-content/; JadooTV, Pakistani Content,
26   https://jadootv.com/pakistani-content/.
27   6. See, e.g., Dish Network, Sling TV and DISH Announce Landmark Agreement with Zee,
     http://about.dish.com/2016-06-02-Sling-TV-and-DISH-Announce-Landmark-Agreement-with-
28   Zee (exclusive agreement with Indian programming group Zee).
                                                   3
       MOTION FOR JUDGMENT ON THE PLEADINGS BY SAJID SOHAIL; MEMORANDUM IN SUPPORT
                                  Case No. 3:20-cv-01891-CRB
 1   is exactly what DISH has tried to do to JadooTV since the company emerged on the scene.
 2          JadooTV’s alternative model is simple: it works with content providers around the world to

 3   bring their channels directly to the United States at no cost to them. Instead of locking those
 4   content providers into exclusive agreements or charging them tens of thousands of dollars like
 5   DISH does, JadooTV negotiates only for the right to replace the local (international) advertising
 6   with advertising specific to the regions the channels will ultimately broadcast. JadooTV’s business
 7   model was ahead of its time at the outset and has been a force disrupting the very conservative
 8   television industry since then. Legacy providers like DISH have struggled to keep up and often
 9   doubled down on reactionary tactics like trying to litigate their smaller competitors into oblivion.
10          This case is a prime example: from the start, it has been an anticompetitive crusade in the
11   guise of a copyright infringement lawsuit. DISH has unfairly attempted to frame JadooTV as a
12   piracy outfit designed to violate its exclusive rights. This could not be further from the truth.
13   JadooTV simply filled a need for thousands of consumers who were looking for a lower-cost
14   alternative to the bulky, expensive solutions that DISH and other legacy providers offered.
15   JadooTV’s content team and other senior leaders are respected television industry executives with
16   deep experience and expertise, not the rag-tag coalition of conspirators that DISH has tried to
17   make them out to be. The hyperbole DISH has now employed in its most recent complaint strains
18   credulity. Despite its innovations, JadooTV is still a very small company with annual revenue of
19   about $10 million per year. How could a company of that size possibly do the type of harm that
20   DISH alleges occurred?
21          C. DISH’s personal attacks on Mr. Sohail are misleading and inappropriate.
22          Sajid Sohail has started several successful technology companies over the course of his
23   three-decade career in Silicon Valley. DISH’s frivolous lawsuit has had a severe impact on his
24   personal and professional reputation, and he does not take DISH’s claims about him lightly.
25          In a last-ditch effort to salvage those claims against him in his personal capacity, DISH has
26   added a slew of additional “facts” about Mr. Sohail to its most recent complaint. Those “facts”
27   range from simply conclusory and misleading to outright false, as Mr. Sohail will ultimately be
28   forced to prove if DISH is allowed to continue litigating its baseless claims.
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       MOTION FOR JUDGMENT ON THE PLEADINGS BY SAJID SOHAIL; MEMORANDUM IN SUPPORT
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 1          In the simplest possible terms, at no time was Mr. Sohail involved in any infringing
 2   activity. Mr. Sohail is a technologist and has certainly been a force in shaping JadooTV’s

 3   technological and financial growth. But content has never been Mr. Sohail’s area of expertise, and
 4   Mr. Sohail has never been involved in JadooTV’s content process the way that DISH has
 5   continued to claim he was. In fact, Mr. Sohail hired two content specialists with deep industry
 6   experience to handle most questions related to JadooTV’s channels and programming.
 7          More specifically, despite DISH’s new allegations to the contrary, Mr. Sohail:
 8          •   never used GitHub to add SASP channels to eMedia (¶ 37)7;
 9          •   knew nothing about the YouTube video “Emedia URL 2018” (¶ 42);
10          •   had nothing to do with “upload[s of] additional videos to YouTube providing []
11              instructions for Jadoo Users to locate and install the software files needed to integrate
12              SASP channels, including the Protected Channels, into the eMedia and Live TV menus
13              of the Jadoo set-top box and mobile app” (¶ 45);
14          •   had no knowledge of the instructional YouTube video DISH refers to (¶ 49);
15          •   knows nothing about DISH’s claims that “Shah used the alias ‘ali85one’ to create an
16              account with domain registrar DynDNS, and then used that account to register the
17              domain name seethen.net that was used with computer servers to transmit channels
18              through the SASP, including the Protected Channels.” or that “Shah also used the email
19              address ali85one@gmail.com to contract for computer servers with CDNs including
20              Verizon and Highwinds that were used to transmit the SASP.” (¶ 64); and
21          •   knew nothing about Mr. Shah’s alleged promotion of JadooTV boxes through social
22              media accounts, as that was not his responsibility. (¶ 73); and
23          •   never received “$224,000 in ‘loans’ from Jadoo TV following the filing of this action.”
24              Cloudstream Media Inc. made a $224,000 loan to JadooTV so JadooTV could set up its
25              new Canadian office. (¶ 9.)
26   DISH’s allegations about JadooTV are just as baseless as its new allegations about Mr. Sohail.
27
28   7. All citations in this list are to DISH’s first amended complaint, Dkt. No. 194.
                                                         5
       MOTION FOR JUDGMENT ON THE PLEADINGS BY SAJID SOHAIL; MEMORANDUM IN SUPPORT
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 1   For instance, the company never promoted any of the channels DISH alleges it did (¶ 25), never
 2   promoted eMedia as a key feature (¶ 26), and never pre-configured any of its set-top boxes to add

 3   the channels DISH claims exclusive rights to (¶ 32). All told, DISH’s attempt to prop up its
 4   deficient complaint with a smattering of new facts fails. Mr. Sohail requests the Court dismiss that
 5   complaint a second time and finally put his involvement in this lawsuit to rest.
 6   IV. ARGUMENT
 7          “Judgment on the pleadings pursuant to Federal Rule of Civil Procedure 12(c) is proper
 8   when the moving party clearly establishes on the face of the pleadings that no material issue of
 9   fact remains to be resolved and that it is entitled to judgment as a matter of law.” Hal Roach
10   Studios, Inc. v. Richard Feiner & Co., Inc., 896 F.2d 1542, 1550 (9th Cir. 1990). “When a party
11   invokes Rule 12(c) to raise the defense of failure to state a claim, the motion faces the same test as
12   a motion [to dismiss] under Rule 12(b)(6).” Landmark Am. Ins. Co. v. Navigators Ins. Co., 354
13   F.Supp.3d 1078, 1081 (N.D. Cal. 2018). Such a dismissal is proper if “the movant clearly
14   establishes that no material issue of fact remains to be resolved . . . .” Doleman v. Meiji Mut. Life
15   Ins. Co., 727 F.2d 1480, 1482 (9th Cir. 1984). To survive a motion for judgment on the pleadings
16   or motion to dismiss, a complaint must include “enough facts to state a claim to relief that is
17   plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).
18          Here, DISH has failed to state a claim that Mr. Sohail may be held individually liable.
19   DISH’s allegations provide no reason that the Court should ultimately disregard the JadooTV
20   corporate entity or impose individual liability under the Copyright Act, and thus, Mr. Sohail is
21   entitled to judgment as a matter of law on the claims against him.
22          A. DISH fails to state a claim against Mr. Sohail.
23          Corporations are separate legal entities. They are distinct from the individuals who create
24   them and distinct from their shareholders. E.g., Dole Food Co. v. Patrickson, 538 U.S. 468, 474
25   (2003); Grosset v. Wenaas, 42 Cal.4th 1100, 1108 (2008). As such, a corporation’s shareholders,
26   directors, and officers are generally not personally responsible for that corporation’s obligations.
27          There are three exceptions to this general rule. First, individuals can personally guarantee
28   corporate obligations if they so choose. See James F. Fotenos et al., California Practice Guide:
                                                     6
       MOTION FOR JUDGMENT ON THE PLEADINGS BY SAJID SOHAIL; MEMORANDUM IN SUPPORT
                                  Case No. 3:20-cv-01891-CRB
 1   Corporations ¶ 2:48 (The Rutter Group 2020). Second, individuals can be personally liable if a
 2   court finds the corporation to be their “alter ego.” Eleanor Licensing LLC v. Classic Recreations

 3   LLC, 21 Cal.App.5th 599, 615 (2018). Third, individuals can become personally liable for torts of
 4   a corporation if they “directly ordered, authorized or participated in the tortious conduct.” Wyatt v.
 5   Union Mortg. Co., 24 Cal. 3d 773, 785 (1979). None of these exceptions applies here.
 6                  1. Mr. Sohail has not personally guaranteed any JadooTV obligations.
 7          DISH makes no allegations that Mr. Sohail has personally guaranteed any of JadooTV’s
 8   corporate obligations. This first exception is not relevant here.
 9                  2. JadooTV is not Mr. Sohail’s alter ego.
10          “[T]he corporate form will be disregarded only in narrowly defined circumstances and only
11   when the ends of justice so require.” Mesler v. Bragg Management Co., 39 Cal.3d 290, 301
12   (1985). “To apply the alter ego doctrine, the court must determine (1) that there is such unity of
13   interest and ownership that the separate personalities of the corporation and the individuals no
14   longer exist and (2) that failure to disregard the corporation would result in fraud or injustice.”
15   Flynt Distrib. Co. v. Harvey, 734 F.2d 1389, 1393 (9th Cir. 1984). “The Ninth Circuit has found
16   this standard met when, for example, the individual defendants were ‘the sole shareholders of the
17   corporations and the sole partners of the partnerships,’ ‘converted the assets of the various
18   corporations and partnerships for their own use and dealt with them as if they were one,’ and left a
19   number of the corporations undercapitalized.” Cisco Sys. Inc. v. Link US, LLC, No. 18-CV-07576-
20   CRB, 2019 WL 6682838, at *3 (N.D. Cal. Dec. 6, 2019) (quoting Flynt Distribution, 734 F.2d at
21   1393-94). This Court’s application of the alter ego doctrine in Cisco Systems v. Link US is
22   instructive. There, Cisco sued a limited liability company named Link US and its president, Basem
23   Toma, in his personal capacity. Mr. Toma moved to dismiss Cisco’s claims against him, arguing
24   that Cisco had pled no facts regarding the relationship between him and the company he worked
25   for. The Court agreed, noting that Cisco offered nothing more than “conclusory statements that
26   Toma control[led] Link’s day-to-day operations and [was] the alter ego of Link[.]” Id. It granted
27   his motion and dismissed the claims against him as an individual.
28          The alter ego situation is even clearer here: DISH’s complaint does not even contain the
                                                      7
       MOTION FOR JUDGMENT ON THE PLEADINGS BY SAJID SOHAIL; MEMORANDUM IN SUPPORT
                                  Case No. 3:20-cv-01891-CRB
 1   words “alter ego.” DISH’s complaint lacks even the “conclusory allegations” that this Court found
 2   insufficient to support an alter ego theory in Cisco Systems. Since DISH has failed to even raise

 3   the issue, there is no reason to impose personal liability under an alter ego theory here.
 4                  3. All three of DISH’s causes of action are for copyright infringement.
 5          It is not immediately obvious whether copyright infringement qualifies as the type of
 6   “tortious conduct” that could give rise to individual liability. See Perfect 10, Inc. v. Visa Int’l Serv.
 7   Ass’n, 494 F.3d 788, 794-95 (9th Cir. 2007) (copyright infringement has “roots” in certain “tort-
 8   law concepts”). While interesting, this question is irrelevant because the Copyright Act comes
 9   with its own specific individual liability framework, as more fully discussed below. Since all of
10   DISH’s allegations are copyright-related, there is no reason to consider the traditional common
11   law “tortious conduct” exception as a separate basis of individual liability.
12          B. Mr. Sohail is not subject to individual liability under the Copyright Act.
13          The Copyright Act imposes individual liability in certain situations. DISH has alleged that
14   JadooTV has infringed upon its copyrights in three ways:
15          •   directly, by distributing protected programs to set-top box users;
16          •   contributorily, by providing “material assistance” to users; and
17          •   vicariously, by receiving “direct financial benefit[s].”
18   DISH has attempted to shoehorn Mr. Sohail into each of these claims by including conclusory
19   allegations about his connection to JadooTV’s alleged misconduct. But DISH still offers no
20   insight into what it believes Mr. Sohail did wrong. The new introductory section of DISH’s
21   complaint, for instance, adds a few additional conclusory allegations and irrelevant facts, but does
22   nothing to link Mr. Sohail to any act of infringement:
23          Defendant Sajid Sohail is an individual residing in Pleasanton, California. Sohail is
            the founder, chief executive officer, president, and majority and controlling
24
            shareholder of Jadoo TV, Inc. Sohail has earned approximately $300,000 annually
25          from Jadoo TV, primarily from the sale of Jadoo set-top boxes and mobile app
26          subscriptions. Sohail also received $224,000 in “loans” from Jadoo TV following the
            filing of this action. As Jadoo TV’s highest-ranking officer and controlling
27          shareholder, Sohail had the right and ability to, and did in fact, authorize, direct, or
28          participate in, and receive direct financial benefits from, the infringing activities of
                                                        8
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            Jadoo TV alleged herein. The acts Sohail engaged in as an agent of Jadoo TV were
 1
            within the scope of such agency.
 2
     Complaint, ¶ 8. Later, DISH makes three matching sets of conclusory allegations regarding joint
 3
     and several liability, one for each type of infringement:
 4
            Sohail is also jointly and severally liable for each act of infringement for which Jadoo
 5          TV is liable because he personally directed and participated in, and benefitted from,
 6          Jadoo TV’s infringing conduct as alleged herein. Sohail was the technologist that
            developed or supervised the development of the Jadoo service, set-top boxes, and
 7          mobile apps, including the eMedia app, Live TV and VOD menus, and associated
 8          Jadootv.com website, and has been directly, actively and personally involved in
            Jadoo TV’s infringing activities.
 9
     Complaint, ¶ 92; see also id., ¶¶ 106, 114. DISH also now offers some additional photographs of
10
     Mr. Sohail with Haseeb Shah, a since-dismissed defendant that DISH initially named in this case.
11
     Id., ¶¶ 71-72. But those additional photographs do nothing to suggest that Mr. Sohail should be
12
     held liable for any type of copyright infringement. DISH’s rote allegations against Mr. Sohail
13
     remain insufficient to impose individual liability, and its claims against him should be dismissed.
14
                    1. DISH has not pled facts linking Mr. Sohail to any direct infringement.
15
            “Plaintiffs must satisfy two requirements to present a prima facie case of direct [copyright]
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     infringement: (1) they must show ownership of the allegedly infringed material and (2) they must
17
     demonstrate that the alleged infringers violate at least one exclusive right granted to copyright
18
     holders under 17 U.S.C. § 106.” A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1013 (9th
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     Cir. 2001). DISH’s primary direct infringement claim is that Haseeb Shah, an individual based in
20
     Islamabad, Pakistan, transmitted “copyrighted programs” “from computer servers [he] controlled
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     [] to Jadoo Users[.]” Complaint, ¶ 89. DISH does not specify what exactly this means or which of
22
     the 17 U.S.C. § 106 exclusive rights Mr. Shah’s actions might have violated.
23
            DISH’s vague direct infringement theory is insufficient to impose personal liability on
24
     Mr. Sohail for at least four reasons. First and most obviously, Mr. Sohail is not Mr. Shah. Second,
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     Mr. Shah is no longer a defendant in this case: the Central District court dismissed all claims
26
     against him in March as it transferred this case to the Northern District. Dkt. No. 150. Third, even
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     if Mr. Shah were still an individual defendant here, DISH’s complaint alleges nothing about the
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                                                      9
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 1   causal relationship between Mr. Sohail’s operations in California and Mr. Shah’s faraway
 2   activities in Pakistan. Without any showing that Mr. Sohail, for instance, specifically directed

 3   Mr. Shah to take his allegedly infringing actions, it is not clear how Mr. Sohail could possibly
 4   qualify as a direct infringer. E.g., VHT, Inc. v. Zillow Grp., Inc., 918 F.3d 723, 731 (9th Cir. 2019)
 5   (“[D]irect liability must be premised on conduct that can reasonably be described as the direct
 6   cause of the infringement.”). Fourth, even if DISH had pled a specific link between Mr. Sohail and
 7   Mr. Shah, setting up a server that responds to user requests does not constitute direct copyright
 8   infringement. Id., at 732 (“[A]utomatic copying, storage, and transmission of copyrighted
 9   materials, when instigated by others, do[ ] not render an [Internet service provider] strictly liable
10   for copyright infringement.”). There is simply no link between Mr. Sohail and direct infringement.
11                  2. DISH has not pled facts that support its contributory infringement claim.
12           “Secondary liability for copyright infringement may be based on either ‘a theory of
13   contributory or vicarious infringement.’” Kevin Barry Fine Art Assocs. v. Ken Gangbar Studio,
14   Inc., 391 F.Supp.3d 959, 968 (N.D. Cal. 2019) (quoting MGM Studios Inc. v. Grokster, Ltd., 545
15   U.S. 913, 930 (2005)). But “[s]econdary liability for copyright infringement does not exist in the
16   absence of direct infringement by a third party.” A&M Records, Inc. v. Napster, Inc., 239 F.3d
17   1004, 1013 n.2 (9th Cir. 2001). Here, DISH’s allegations of direct infringement are unconvincing.
18   Even if they were not, imposing secondary liability on Mr. Sohail would still be inappropriate.
19           Contributory copyright infringement is “a form of secondary liability with roots in the tort-
20   law concepts of enterprise liability and imputed intent.” Perfect 10, Inc. v. Visa Int’l Serv., Ass’n,
21   494 F.3d 788, 794-95 (9th Cir. 2007). This type of liability attaches to “one who, with knowledge
22   of the infringing activity, induces, causes or materially contributes to the infringing conduct of
23   another.” Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1171 (9th Cir. 2007). “[O]ne
24   contributorily infringes when he [or she] (1) has knowledge of another’s infringement and (2)
25   either (a) materially contributes to or (b) induces that infringement.” Perfect 10, Inc. v. Visa, 494
26   F.3d 788 at 795. DISH has failed to suggest that Mr. Sohail was ever aware of any infringing
27   conduct, to say nothing of him “materially contributing” to or “inducing” any such infringement.
28   //
                                                      10
          MOTION FOR JUDGMENT ON THE PLEADINGS BY SAJID SOHAIL; MEMORANDUM IN SUPPORT
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 1                          a. DISH alleges no “material contribution” by Mr. Sohail.
 2          Perfect 10, Inc. v. Giganews, Inc. is the authoritative Ninth Circuit case on contributory

 3   copyright infringement for operators of online services. 847 F.3d 657 (9th Cir. 2017). There, adult
 4   entertainment service and frequent copyright litigant Perfect 10 sued Giganews, a service that
 5   provided users access to a network called Usenet where they were free to upload and download
 6   content from one another. Id., at 663. Some users chose to upload and download copyrighted
 7   images owned by Perfect 10, hence the lawsuit. Perfect 10 claimed that Giganews was liable for
 8   contributory copyright infringement because it had the ability to remove infringing content but did
 9   not do so. Id., at 670-71. It also claimed that Giganews induced its users to access infringing
10   content and that the company should be held secondarily liable on that basis. Id.
11          The Ninth Circuit disagreed and affirmed the district court’s finding in favor of defendant
12   Giganews. First, it reiterated that a “computer system operator” is only liable based on an alleged
13   material contribution to infringement “if it has actual knowledge that specific infringing material
14   is available using its system, and can take simple measures to prevent further damage to
15   copyrighted works, yet continues to provide access to infringing works.” Perfect 10, Inc. v.
16   Amazon.com, Inc., 508 F.3d 1146, 1172 (9th Cir. 2007). Here, DISH offers no facts suggesting
17   that Mr. Sohail had actual knowledge of any particular infringing content and no facts suggesting
18   that he had any power to take “simple measures to prevent further damage[.]” This case is even
19   more extreme than Giganews: since Mr. Sohail is an individual rather than a corporation, he by
20   definition does not have the power to unilaterally implement whatever “simple measures” he sees
21   fit. There is no basis for secondary liability based on “material contribution” here.
22                          b. DISH pleads no facts that could show Mr. Sohail induced infringement.

23          The Ninth Circuit also rejected Perfect 10’s argument that Giganews had induced its users
24   to infringe upon Perfect 10’s copyrights. Under the doctrine of induced infringement, companies
25   that “distribute[] a device with the object of promoting its use to infringe copyright, as shown by
26   clear expression or other affirmative steps taken to foster infringement, [are] liable for the
27   resulting acts of infringement by third parties.” MGM Studios Inc. v. Grokster, Ltd., 545 U.S. 913,
28   936-37 (2005). Inducement requires a showing of four elements: “(1) the distribution of a device
                                                  11
       MOTION FOR JUDGMENT ON THE PLEADINGS BY SAJID SOHAIL; MEMORANDUM IN SUPPORT
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 1   or product, (2) acts of infringement, (3) an object of promoting its use to infringe copyright, and
 2   (4) causation.” Columbia Pictures Indus., Inc. v. Fung, 710 F.3d 1020, 1032 (9th Cir. 2013). The

 3   court ruled that Perfect 10 had failed to show that Giganews either “clearly expressed” a desire to
 4   foster infringement or taken any “affirmative steps” to do so. The same is true here: Mr. Sohail has
 5   neither expressed such a desire nor taken any such steps. Since DISH alleges no facts that would
 6   support either a “material contribution” theory or an inducement theory, its contributory
 7   infringement claims against Mr. Sohail should be dismissed.
 8                  3. DISH has pled no facts to support its vicarious infringement claim.
 9          “Vicarious copyright liability is an outgrowth of respondeat superior.” Keck v.
10   Alibaba.com Hong Kong Ltd., 369 F.Supp.3d 932, 936 (N.D. Cal. 2019) (quoting Fonovisa, Inc. v.
11   Cherry Auction, Inc., 76 F.3d 259, 262 (9th Cir. 1996)). To state a vicarious liability claim, a
12   plaintiff must allege facts showing that a defendant benefitted “[1] by profiting from direct
13   infringement while [2] declining to exercise a right to stop or limit it.” MGM Studios Inc. v.
14   Grokster, Ltd., 545 U.S. 913, 930 (2005). To meet the second part of this test, an individual
15   defendant must have “ha[d] both a legal right to stop or limit the directly infringing conduct, as
16   well as the practical ability to do so.” Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1173
17   (9th Cir. 2007). As with contributory infringement, vicarious infringement is a type of
18   “[s]econdary liability for copyright infringement [that] does not exist in the absence of direct
19   infringement by a third party.” A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1013 n.2 (9th
20   Cir. 2001). Again, DISH’s unconvincing allegations of direct infringement do not establish any
21   type of secondary liability, and DISH has also not pled any facts sufficient to support a cause of
22   action for vicarious infringement against Mr. Sohail.
23                          a. Mr. Sohail has no “direct financial interest” in infringement.
24          UMG Recordings, Inc. v. Veoh Networks Inc. provides helpful guidance on this point.
25   No. 07-CV-5744-AHM, 2009 WL 334022, at *6 (C.D. Cal. Feb. 2, 2009). There, a district court
26   considered the liability of investors in a technology company for vicarious copyright infringement.
27   UMG argued that infringing conduct could “draw” more customers to the defendant platform and
28   that the investors in that platform would benefit financially as a result. In UMG’s view, it followed
                                                      12
       MOTION FOR JUDGMENT ON THE PLEADINGS BY SAJID SOHAIL; MEMORANDUM IN SUPPORT
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 1   that those investors should be held personally liable for any copyright infringement by the
 2   company. Id., at *5. DISH’s general legal theory is similar: since Mr. Sohail owns a portion of

 3   Cloudstream Media Inc. and Cloudstream Media in turn owns a portion of JadooTV (Dkt. No. 91,
 4   ¶¶ 5-6), Mr. Sohail could potentially benefit from infringing activities if those activities brought
 5   more users to JadooTV.
 6          The Veoh court quickly dismissed this argument. Emphasizing the “direct” in the Ninth
 7   Circuit’s “direct financial interest” requirement, A&M Records, Inc. v. Napster, Inc., 239 F.3d
 8   1004, 1022 (9th Cir. 2001), the court observed that any “financial benefit that the Investor
 9   Defendants might some day enjoy w[ould] not come directly from Veoh’s users or from Veoh’s
10   advertisers” Veoh Networks Inc., 2009 WL 334022, at *6. It contrasted investors in the
11   defendants’ position with the operators of a flea market in Fonovisa, Inc. v. Cherry Auction, Inc.,
12   76 F.3d 259 (9th Cir. 1996). In the flea market situation, the Fonovisa court wrote, revenues “flow
13   [to operators] directly from customers who want to buy the counterfeit recordings at bargain
14   basement prices.” Id. at 263. The Veoh court observed that investors in Veoh, on the other hand,
15   only stood to see a potential increase in the value of the company. It concluded that this type of
16   “financial benefit is too far removed from the alleged infringement to be considered a ‘direct’
17   financial interest” and granted the investors’ motion to dismiss the claims against them. Veoh
18   Networks Inc., 2009 WL 334022, at *6. The connection DISH has suggested here is even more
19   attenuated: unlike the investors in Veoh, Mr. Sohail is not even a shareholder (or an employee) of
20   JadooTV. Any alleged link between infringement by JadooTV and financial benefit to Mr. Sohail
21   is indirect at best, and the Court may dismiss DISH’s vicarious infringement claims on that basis.
22                          b. DISH pleads no specific facts about Mr. Sohail’s control of JadooTV.

23          The allegations in DISH’s complaint that so discuss Mr. Sohail’s relationship with
24   JadooTV as a corporate entity are mostly conclusory, boilerplate, or both. Other courts have
25   dismissed copyright claims against individual defendants where the plaintiff failed to plead facts
26   that could show the individual had “pervasive control” over the corporate entity. E.g., Wild v.
27   Preventive Pest Control, LLC, No. 19-CV-01420-CJC, 2019 WL 2871155, at *5 (C.D. Cal. May
28   29, 2019). Since DISH says virtually nothing about Mr. Sohail’s control over JadooTV, the Court
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 1   is free to dismiss the vicarious infringement claims against him here.
 2          C. Dismissal with prejudice is warranted, given DISH’s previous amendment.

 3          Federal Rule 12(c) does not expressly authorize courts to grant a party leave to amend a
 4   defective pleading after granting a motion for judgment on the pleadings. But courts occasionally
 5   do so—as the Court has already done once here—reasoning that a motion for judgment on the
 6   pleadings “is functionally identical” to a motion to dismiss under Federal Rule 12(b)(6). Lonberg
 7   v. City of Riverside, 300 F.Supp.2d 942, 945 (C.D. Cal. 2004) (citing Dworkin v. Hustler
 8   Magazine, Inc., 867 F.2d 1188, 1192 (9th Cir. 1989)). As with a 12(b)(6) motion, dismissal
 9   without leave to amend is appropriate when it is “clear” that the challenged claims “could not be
10   saved by any amendment.” Harris v. Amgen, Inc., 573 F.3d 728, 737 (9th Cir. 2009); see, e.g.,
11   Greenberg v. Sunrun Inc., 233 F.Supp.3d 764, 775 (N.D. Cal. 2017) (dismissing a party’s claims
12   when “leave to amend would be futile”); In re Yahoo! Inc. Shareholder Derivative Litig., 153
13   F.Supp.3d 1107, 1128 n.14 (N.D. Cal. 2015) (dismissing claims without leave to amend where
14   plaintiffs had “not identified any facts that indicate amendment could cure the defects in the
15   Complaint”); Pixion, Inc. v. Citrix Sys. Inc., No. 09-CV-03496, 2012 WL 762005, at *8 (N.D. Cal.
16   Mar. 8, 2012) (granting motion for judgment on pleadings without leave to amend). Here, DISH’s
17   complaint offers only conclusory allegations unsupported by any relevant facts. Even though it has
18   already amended its complaint, DISH has still failed to plead that Mr. Sohail might be held
19   personally liable for any type of copyright infringement. Further amendment would not help.
20          Dismissing DISH’s futile claims against Mr. Sohail at this point is also a necessity for the
21   sake of judicial economy. Since DISH filed its baseless complaint against Mr. Sohail a year and a
22   half ago in November 2018, the parties have engaged in wide-ranging discovery based the
23   company’s conclusory allegations. That discovery has already included:
24          •   two discovery dispute-resolution conferences in mid-2019 (Dkt. Nos. 62, 69);
25          •   a fully-litigated motion to compel filed in May 2019 (Dkt. No. 75);
26          •   supplemental briefing following a hearing on that motion (Dkt. No. 85);
27          •   a fully-litigated motion to quash a subpoena (Dkt. No. 94);
28          •   an attorney’s fees motion based on the motion to compel (Dkt. No. 98);
                                                    14
       MOTION FOR JUDGMENT ON THE PLEADINGS BY SAJID SOHAIL; MEMORANDUM IN SUPPORT
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 1          •   a second fully-litigated motion to compel, filed in January 2020 (Dkt. No. 132);
 2          •   a motion for reconsideration following that motion to compel (Dkt. No. 148);

 3          •   a second fee motion based on the second motion to compel (Dkt. No. 147); and
 4          •   three separate discovery letter briefs filed in this Court (Dkt. Nos. 181, 182, and 185).
 5   DISH should not be allowed to start over from scratch now. If it is, the company will continue to
 6   burden this Court’s docket with unnecessary discovery motions just as it did the Central District’s
 7   and has already started doing here. Mr. Sohail requests that the Court put an end to DISH’s
 8   litigious conduct by dismissing its claims against him as an individual without leave to amend.
 9   V. CONCLUSION
10          DISH’s entire complaint is about whether JadooTV’s set-top box product infringes upon
11   DISH’s copyrights. There was no reason for DISH to name individual defendants in this case, and
12   its continued crusade against Mr. Sohail has gone on for far too long already. As it resolves this
13   motion, the Court has the power to finally clean up the unnecessary confusion DISH has created
14   and turn this action into what it should have been in the first place: a straightforward copyright
15   dispute between two companies. Mr. Sohail requests that it do so.
16
     Dated: July 30, 2020                               CHAN PUNZALAN LLP
17
                                                        /s/ Nicole Daryanani
18
                                                        Nicole Daryanani
19                                                      Mark Punzalan
20                                                      Counsel for Defendants
21                                                      JadooTV, Inc. and Sajid Sohail

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